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             1         JOAN JACOBS LEVIE, #179787
                  LAW OFFICES OF JOAN JACOBS LEVIE
             2      2014 TULARE STREET, SUITE 528
                      FRESNO, CALIFORNIA 93721
             3       TELEPHONE: (559) 498-8155
                      FACSIMILE: (559) 498-8165
             4
                  Attorney for Defendant, SUZANNE BARNETT
             5
                                                    UNITED STATES DISTRICT COURT
             6

             7                                    EASTERN DISTRICT OF CALIFORNIA

             8                                                       *****
             9                                                        )
                 UNITED STATES OF AMERICA,                            ) CASE NO. CR-F-06-0171 OWW
            10                                                        )
                        Plaintiff,                                    )
            11                                                        ) STIPULATION TO CONTINUE SENTENCING
                 vs.                                                  ) HEARING; ORDER
            12                                                        )
                 SUZANNE BARNETT, et al.,                             ) SCHED. DATE: September 22, 2008
            13                                                        ) REQST. DATE: October 20, 2008
                                                                      )
            14           Defendant.                                   ) TIME:         9:00 A.M.
                                                                        COURT: The Hon. Oliver W. Wanger
            15   _________________________________________________
                 IT IS HEREBY STIPULATED between the parties, by and through counsel for the government,
            16

            17   Laurel Montoya, and Joan Jacobs Levie, counsel for Defendant SUZANNE BARNETT, that the date

            18   established for the sentencing hearing, currently scheduled for September 22, 2008 at 9:00 a.m. in the
            19   courtroom of the Hon. Oliver W. Wanger be continued until October 20, 2008 at 9:00 a.m. in the
            20
                 courtroom of the Hon. Oliver W. Wanger in order to mutually resolve some sentencing issues. Ms
            21
                 Montoya is out of the office until September 9, 2008 and Ms Levie is out of the office from September
            22

            23
                 5-21, 2008.

            24           DATED: August 28, 2008

            25                                                       Respectfully submitted,
            26
                                                                     /S/ Joan Jacobs Levie___
            27                                                       JOAN JACOBS LEVIE
                                                                     Attorney for Defendant,
            28                                                       SUZANNE BARNETT


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                                                              ORDER
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             2   Having read the stipulation of counsel and finding good cause, IT IS HEREBY ORDERED that

             3   the date of the sentencing proceedings will be continued in accordance with the above stipulation
             4
                 of counsel. The defendant is ordered to return to court for further proceedings on October 20, 2008.
             5
                 DATED: August 27, 2008
             6
                                                      By: /s/ OLIVER W. WANGER___________
             7
                                                              OLIVER W. WANGER
             8                                                Judge of the United States District Court

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